USCA Case #22-7063           Document #1982108                 Filed: 01/19/2023           Page 1 of 1




  January 19, 2023


  Clerk of the Court
  United States Court of Appeals
  for the District of Columbia Circuit
  333 Constitution Ave., NW
  Washington DC 20001


         Re:     Notice of Unavailability of Counsel
                 American Society for Testing and Materials et al. v Public.Resource.Org,
                 Case No. 22-7063

  Dear Clerk,

  I will be arguing counsel for Public.Resource.Org. in the above-captioned case.

  I write to notify the Court of my availability to present oral argument. I will be unavailable on
  the following dates: February 15 – February 28, 2023, April 3 – 14, 2023, and May 30 – July
  14, 2023.

  I would appreciate it if the Court would avoid scheduling argument in this case during those
  periods.




                                                 Very truly yours,


                                                 /s/ Corynne McSherry

                                                 Corynne McSherry




  Cc: All counsel of record via ECF.



  815 EDDY STREET, SAN FRANCISCO, CA 94109 USA   phone +1.415.436.9333   fax +1.415.436.9993   eff.org
